
55 N.J. 312 (1970)
STATE OF NEW JERSEY (CITY OF PATERSON), PLAINTIFF-RESPONDENT,
v.
MAXWELL G. TOW, DEFENDANT-PETITIONER.
STATE OF NEW JERSEY (CITY OF PATERSON), PLAINTIFF-RESPONDENT,
v.
NORMAN S. HATT, DEFENDANT-PETITIONER.
The Supreme Court of New Jersey.
January 13, 1970.
Messrs. Frankel &amp; Frankel and Mr. Lawrence B. Dvores for the petitioner.
Mr. Joseph L. Conn for the respondent.
Denied.
